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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

 ALAN ARKIN, on behalf of himself                             Case No.
 and all others similarly situated,

                               Plaintiff,                     JURY TRIAL DEMANDED

        v.

 DOORDASH, INC.,


                               Defendant


                                CLASS ACTION COMPLAINT

       1.      Plaintiff, Alan Arkin, individually and on behalf of all others similarly situated,

brings this class action against defendant DoorDash for violation of the New York General

Business Law, § 349 and the other states’ consumer protection statutes, common law fraud and

unjust enrichment. Defendant DoorDash has engaged in unlawful and deceptive acts, practices

and misconduct by misleading Plaintiff and the consuming public to believe that the tip amount

entered on the DoorDash app would be received as a tip by the DoorDash delivery workers for

their service. DoorDash knew, and failed to disclose, that the tip amount entered by Plaintiff and

other consumers on the app was received by DoorDash, in whole or in part, and used to subsidize

its cost of doing business. Had Plaintiff and other customers known that by entering a tip on the

DoorDash app they were simply contributing to DoorDash’s bottom line, they never would have

agreed to pay a tip using the DoorDash app.




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                                          THE PARTIES

       2.      Plaintiff Alan Arkin resides in Brooklyn, New York. Plaintiff has made

approximately 38 purchases with the DoorDash app and has customarily paid a tip for delivery

via the DoorDash app.

       3.      Defendant DoorDash, Inc. (“DoorDash”) is a technology company based in San

Francisco, California which specializes in on-demand food delivery service and operates the

nation’s largest on-demand food-delivery app. DoorDash’s 400,000 food app delivery workers

are known as “Dashers.”

                                 JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over this action pursuant to the

Class Action Fairness Act of 2005 (“CAFA”), Pub. L. No. 109-2, 119 Stat. 4 (codified in

various sections of T i t l e 28 of the United States Code).

       5.      Plaintiff is a citizen of a different state than Defendant. Plaintiff is a citizen and

resident of New York. Defendant DoorDash is a citizen of California. The amount in

controversy exceeds $5,000,000 and there are at least one hundred members of the Class.

       6.      This Court has jurisdiction over Defendant because it is a foreign corporation

authorized to conduct business in New York, is regularly doing or did business in New York

during the relevant time period and has registered with the New York Secretary of State, or

does sufficient business in New York, has sufficient minimum contacts with New York, or

otherwise intentionally avails itself of the New York consumer markets. This purposeful

availment renders the exercise of jurisdiction by this Court over Defendant and its affiliated or

related entities permissible under traditional notions of fair play and substantial justice.




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       7.       This Court has subject-matter jurisdiction under CAFA because the amount in

controversy exceeds $5 million and diversity exists between Plaintiff and the Defendant. 28

U.S.C. § 1332(d)(2). Further, in determining whether the $5 million amount in controversy

requirement of 28 U.S.C. § 1332(d)(2) is met, the claims of the Class members are

aggregated. 28 U.S.C. § 1332(d)(6).

       8.       Venue is proper in this forum pursuant to 28 U.S.C. § 1391 because Plaintiff

resides within this District, Defendant transacts business and may be found in this District and a

substantial portion of the practices complained of herein occurred in this District.

       9.       All conditions precedent to this action have occurred, been performed, or have

been waived.

                                    STATEMENT OF FACTS

       10.      On July 21, 2019, the New York Times published an article entitled, “What Our

Reporter Learned Delivering Burritos to New Yorkers” in which Andy Newman, a reporter for

the Metro section of the New York Times, worked as a food app delivery worker for DoorDash.

       11.      The reporter stated that for almost two-thirds of his food deliveries, he received

no tip. The article explained that the DoorDash app “effectively pockets tips made via the app”

and that in order for the delivery worker to ensure that s/he received a tip, it had to be paid in

cash by the customer. The article stated that, “You may think the delivery fee takes care of the

[delivery] rider, but the apps’ pay structure leaves riders dependent on [cash] tips to make a

living wage.”

       12.      Indeed, under a policy which DoorDash adopted in 2017, DoorDash would offer a

delivery worker a guaranteed minimum amount to do a delivery. If a customer tipped, in most

cases a tip paid through the app would go to subsidizing DoorDash’s contribution toward the



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guarantee, rather than increasing the deliver worker’s pay. In other words, the tip entered by the

customer was simply subsidizing DoorDash’s labor costs and was not rewarding the delivery

worker for his or her service.

       13.     For example, as the New York Times explained in an article entitled “DoorDash

Changes Tipping Model After Uproar” published July 24, 2019:

        [I]f DoorDash guaranteed a worker $7 for a delivery and a customer did not tip,
       DoorDash would directly pay the worker $7. If the customer tipped $3 via the
       app, DoorDash would directly pay the worker only $4, then add on the $3 tip so
       that the worker would still get only $7.

       14.     Thus, using the example above, the customer who enters an additional amount for

a tip is overpaying for the delivery service. For example, if the food delivery bill is $10 and the

customer enters a tip on the app of $3, the food costs $10, the customer pays $13, and the

delivery worker is paid $7. If the food delivery bill is $10, and the customer enters no tip on the

app, the customer pays $10 and the delivery worker is paid $7.

       15.     On July 24, 2019, DoorDash represented that it would discontinue its “widely

criticized tipping policy that effectively meant customers’ tips were going to DoorDash rather

than the worker who delivered their meal.”

       16.     DoorDash has admitted that the tip amount entered by the customer on the

DoorDash app was largely subsidizing its labor costs, rather than rewarding the delivery worker

with extra pay for good service. DoorDash’s chief executive, Tony Xu, wrote on Twitter on July

23, 2019, that “we’re changing our model- the new model will ensure that Dashers’ [delivery

workers’] earnings will increase by the exact amount a customer tips on every order.”

       17.     Commenting on DoorDash’s tipping policy, tech journalist Louise Matsakis wrote

“I don’t believe a single person intends to give a tip to a multibillion dollar venture-backed start-




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up. . . . They are trying to tip the person who delivered their order. This deceptive model should

be illegal.”

        18.    Plaintiff has made approximately 38 purchases using the DoorDash app and has

entered a tip for the delivery via the DoorDash app on each purchase. Had Plaintiff known that

the exact tip entered on the DoorDash app was not being received by the Dasher as a wage

enhancement for good service, and instead was being paid, in whole or in part, to DoorDash to

offset its labor costs, Plaintiff would not have agreed to enter and pay a tip amount on the

DoorDash app.

                              CLASS ACTION ALLEGATIONS

        19.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure, Rule

23(a), 23(b)(2) and (b)(3) on behalf of a Class defined as follows:

        All consumers who used DoorDash and paid a tip through the Door Dash app
        within the statutory period.

        20.    Plaintiff reserves the right to modify or amend the definition of the Class

before the Court determines whether certification is appropriate.

        21.    Defendant subjected Plaintiff and Class members to the same or substantially

similar unfair, unlawful, and deceptive practices and harmed them in the same manner.

Numerosity

        22.    The proposed Class is so numerous that joinder of all members would be

impracticable. As of 2018, DoorDash was active in 3,000 cities nationwide and had captured

more than 20% of all monthly online food deliveries with over 245,000 active mobile app users.

The individual Class members are ascertainable, as the names and addresses of all class members

can be identified in the business records maintained by Defendant. The precise number of Class

members can be obtained through discovery, but the numbers are clearly more than can be

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consolidated in one complaint such that it would be impractical for each member to bring suit

individually. Plaintiff does not anticipate any difficulties in the management of the action as a

class action.

Commonality

       23.      There are questions of law and fact that are common to Plaintiff’s and

Class members’ claims.

       24.      These common questions predominate over any questions that go particularly to

any individual member of the Class. Among such common questions of law and fact are the

following:

                       a. whether Defendant misrepresented and failed to disclose the tip
                          amount entered by the customer on the DoorDash app was not
                          enhancing the Dasher’s pay or rewarding the Dasher for good
                          service, but was contributing to DoorDash’s profits

                       b. whether Defendant has been unjustly enriched;


                       c. whether Plaintiff and the Class have suffered damages as a result of
                          Defendant’s actions and the amount thereof; and

                       d. The appropriate remedies to be imposed on Defendant for its
                          violations of the laws claimed herein;
Typicality

       25.      Plaintiff is a member of the Class he seeks to represent. Plaintiff’s claims are

typical of claims of the other class members because of the similarity, uniformity, and common

purpose of the Defendant’s unlawful conduct. Each Class member has sustained, and will

continue to sustain, damages in the same manner as Plaintiff as a result of Defendant’s unlawful

conduct.




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Adequacy of Representation

       26.     Plaintiff i s an adequate representative of the Class and will fairly and

adequately protect the interests of the Class. Plaintiff is committed to the vigorous prosecution

of this action and has retained competent counsel, experienced in litigation of this nature, to

represent him. There is no hostility between Plaintiff and the unnamed Class members.

Plaintiff anticipates no difficulty in the management of this litigation as a class action.

       27.     To prosecute this case, Plaintiff has chosen the undersigned law firms, who are

experienced in class action litigation and have the financial and legal resources to meet the

substantial costs and legal issues associated with this type of litigation.

Requirements of Fed. R. Civ. P. 23(b)(3)

       28.     The questions of law or fact common to Plaintiff and each Class Member’s

claims predominate over any questions of law or fact affecting only individual members of the

class. All claims by Plaintiff and the unnamed class members are based on Defendant’s

materially false and misleading statements and omissions which lead reasonable consumers

who use the DoorDash app to believe that the tip amount they entered on the DoorDash app

would go to the delivery worker as a wage enhancement for good service, and not to

DoorDash as a labor cost subsidy.

       29.     Common issues predominate when, as here, liability can be determined on a class-

wide basis, even though some individualized damages determinations may be necessary.

       30.     As a result, when determining whether common questions predominate,

courts focus on the liability issue, and if the liability issue is common to the Class as is the case

at bar, common questions will be held to predominate over individual questions.




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Superiority

          31.   A class action is superior to individual actions.

          32.    Joinder of all Class members would create extreme hardship and inconvenience

for the affected borrowers as they are dispersed geographically and reside across multiple

states.

          33.   Individual claims by Class members are impractical because the costs to pursue

individual claims exceed the value of what any one Class member has at stake. As a result,

individual Class members have no interest in prosecuting and controlling separate actions.

          34.   There are no known individual Class members who are interested in individually

controlling the prosecution of separate actions.

          35.   The interests of justice will be well served by resolving the common disputes of

potential Class members in one forum. Individual suits would not be cost effective or

economically maintainable, and the action is manageable as a class action.

Requirements of Fed. R. Civ. P. 23(b)(2)

          36.   Prosecuting separate actions by or against individual Class members would

create a risk of inconsistent or varying adjudications with respect to individual Class

members that would establish incompatible standards of conduct for the party opposing the

class.

          37.   Defendant has acted or failed to act in a manner generally applicable to the

class, thereby making appropriate final injunctive relief or corresponding declaratory relief with

respect to the Class as a whole.




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                            FIRST CAUSE OF ACTION
              VIOLATION OF NEW YORK GENERAL BUSINESS LAW § 349

        38.      Plaintiff repeats and realleges each preceding paragraph of the Complaint as if

fully set forth herein.

        39.     Plaintiff brings this cause of action individually and on behalf of a New York

Subclass against Defendant.

        40.     Plaintiff and the Class members are “persons” within the meaning of GBL

§349(h).

        41.     GBL §349(a) states: “Deceptive acts or practices in the conduct of any business,

trade or commerce or in the furnishing of any service in this state are hereby declared unlawful.”

        42.      Defendant’s acts and practices alleged herein constitute acts, uses, or

employment of deception, fraud, unconscionable and unfair commercial practices, false

pretenses, false promises, misrepresentations, or the knowing concealment, suppression, or

omission of material facts with the intent that others rely upon such concealment, suppression, or

omission, in connection with the sale or advertisement of merchandise, and with the subsequent

performance, of defendant in violation of § 349 of New York's General Business Law, making

deceptive and unfair acts and practices illegal.

        43.     Defendant’s conduct is deceptive because it is likely to mislead consumers and

the public by making them believe, falsely, that the tip amount which the consumer enters into

the DoorDash app would go to the Dasher as a wage enhancement for good service. Defendant’s

representations and omissions were materially false and misleading and likely to deceive the

consuming public because Defendant knew and failed to disclose that all or part of the tip

amount entered into the DoorDash app would go to DoorDash to subsidize its cost of business

and would not reward the Dasher for good service.

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       44.     The deceptive acts and practices of Defendant have directly, foreseeably, and

proximately caused damages and injury to Plaintiff and the other members of the New York

Subclass. Indeed, Defendant’s false and deceptive representations caused Plaintiff and other

members of the New York Subclass to suffer damages, including, but not limited to, paying

additional amounts via the DoorDash app which they believed to be tips for the Dashers which

Plaintiff and other members of the Subclass would not have paid had they known that the

Dashers received a flat fee per delivery, regardless of whether the customer paid a tip, and that

tip amounts entered on the app were pocketed by DoorDash, in whole or in part, and used to

subsidize its cost of doing business.

       45.     In addition to pecuniary losses, Plaintiff and the Subclass suffered actual harm as

a result of Defendant’s violations GBL §349(a), including but not limited to, the annoyance,

harassment, time, frustration, and anger due to Defendant’s violations of GBL §349.

       46.     Plaintiff and the New York Subclass are entitled to pursue claims against

Defendant for damages, statutory damages, treble damages, exemplary damages, injunctive

relief, costs and attorney’s fees pursuant to GBL §349(h) to redress Defendant’s violations of

GBL §349(a).

       47.     New York Subclass members who were sixty-five years of age or older at the

time of Defendant’s violations of GBL §349 are entitled to pursue additional remedies pursuant

to GBL §349-c to redress Defendant’s violations of GBL §349(a) perpetrated against elderly

persons.

       48.     Plaintiff has no adequate remedy of law.




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                                SECOND CAUSE OF ACTION
                          VIOLATIONS OF CONSUMER PROTECTION LAWS
                              OF STATES ADDITIONAL TO NEW YORK

        49.     Plaintiff repeats and realleges each preceding paragraph of the Complaint as if

fully set forth herein.

        50.     In the event that the New York GBL § 349 does not provide redress to Plaintiff’s

and/or other Class members’ claims against Defendant, the following alternative consumer

protection statutes provide a basis for redress based on Defendant’s unfair, deceptive, and/or

misleading acts, practices and conduct in misrepresenting and misleading the consumer to

believe that the exact tip amount entered by the consumer on the DoorDash app would go to the

Dasher as a wage enhancement for good service and failing to disclose that all or part of the tip

amount was pocketed by DoorDash to subsidize its labor costs and that the amount received by

the Dasher would be the same whether or not the customer paid a tip:

        (a).    The Alaska Unfair Trade Practices and Consumer Protection Act, Alaska State. §§

45.50.471 et seq.;

        (b).    The Arizona Consumer Fraud Act, Ariz. Rev. Stat. Ann. §§ 44-1521, et seq.;

        (c).    The Arkansas Deceptive Trade Practices Act, Ark. Code Ann. §§ 4-88-101, et seq.;

        (d).    The California Consumer Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq.

and/or the California Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq.;

        (e).    The Colorado Consumer Protection Act, Colo. Rev. Stat. §§ 6-1-101, et seq.;

        (f).    The Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. §§ 42-110a, et seq.;

        (g).    The Delaware Consumer Fraud Act, Del. Code Ann. tit. 6, §§2511 et seq. and/or

the Delaware Uniform Deceptive Trade Practices Act, Del. Code Ann. tit. 6, §2531, et seq.;




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           (h).   The District of Columbia Consumer Protection Procedures Act, D.C. Code Ann.

§28-3901, et seq.;

           (i).   The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §§ 501.201,

et seq.;

           (j).   The Georgia Uniform Deceptive Trade Practices Act, Ga. Code Ann. §§ 10-1-370,

et seq.;

           (k).   The Hawaii Uniform Deceptive Trade Practices Act, Haw. Rev. Stat. §§ 481A-1,

et seq. and/or Hawaii Rev. Stat. §§ 480-1, et seq.;

           (l).   The Idaho Consumer Protection Act, Idaho Code §§ 48-601, et seq.;

           (m).   The Illinois Consumer Fraud and Deceptive Business Practices Act, Ill. Comp. Stat.

Ann. §§ 505/1 et seq.;

           (n).   The Indiana Deceptive Consumer Sales Act, Ind. Code Ann. §§ 24-5-0.5-1, et seq.;

           (o).   The Kansas Consumer Protection Act, Kan. Stat. Ann. §§ 50-623, et seq.;

           (p).   The Kentucky Consumer Protection Act, Ky. Rev. Stat. §§ 367.110, et seq;

           (q).   The Maine Unfair Trade Practices Act, Me. Rev. Stat. Ann. tit. 5, §§ 205A, et seq.;

           (r).   The Maryland Consumer Protection Act, Md. Com. Law. Code Ann. §§ 13-101, et

seq.;

           (s).   The Massachusetts Regulation of Business Practice and Consumer Protection Act,

Mass. Gen. Laws Ann. Ch. 93A;

           (t).   The Michigan Consumer Protection Act, Mich. Comp. Laws Ann §§ 445-901, et

seq.;

           (u).   The Minnesota Prevention of Consumer Fraud Act, Minn. Stat. Ann. §§ 325F.68,

et seq.;



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           (v).    The Missouri Merchandising Practices Act, Mo. Rev. Stat. §§ 407.010, et seq.;

           (w).    The Nebraska Consumer Protection Act, Neb. Rev. Stat. §§ 59-1601, et seq.;

           (x).    The Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. §§ 598.0903 et

seq. and/or Nevada Rev. Stat. §41.600;

           (y).    The New Hampshire Consumer Protection Act, N.H. Rev. Stat. Ann., §§ 358-A:1,

et seq.;

           (z).    The New Mexico Unfair Practices Act, N.M. Stat. Ann., §§ 57-12-1, et seq.;

           (aa).   The New York General Business Law §349, et seq.;

           (bb).   North Carolina, N.C. Gen. Stat. §§ 75-1.1, et seq.;

           (cc).   North Dakota, N.D. Gen. Stat. §§ 51-15-01, et seq.;

           (dd).   The Ohio Consumer Sales Practices Act, Ohio Rev. Code Ann. §§ 1345.01, et seq.;

           (ee).   The Oklahoma Consumer Protection Act, Okla. Stat. Ann. tit. 15, §§ 751, et seq.;

           (ff).   The Oregon Unlawful Trade Practices Law, Or. Rev. Stat., §§ 646-605 et seq.;

           (gg).   The Pennsylvania Unfair Trade Practices and Consumer Protection Law, Pa. Stat.

Ann. tit. 73, §§ 201-1, et seq.;

           (hh).   The Rhode Island Unfair Trade Practices and Consumer Protection Act, R.I. Gen.

Law §§ 6-13.1-1, et seq.;

           (ii).   The South Dakota Deceptive Trade Practices and Consumer Protection Act, S.D.

Codified Laws Ann. §§ 37-24-1, et seq.;

           (jj).   The Texas Deceptive Trade Practices – Consumer Protection Act, Tex. Bus. &

Com. Code Ann. §§ 17.41, et seq.;

           (kk).   The Vermont Consumer Fraud Act, Vt. Stat. Ann. tit. 9, §§ 2451, et seq.;

           (ll).   The Washington Consumer Protection Act, RCW 19.86.020 et seq.



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         (mm). West Virginia, W.Va. Code §§ 46A-6-101, et seq.;

         (nn).   Wisconsin, Wisc. Stat. Ann. §100.18; and

         (oo).   The Wyoming Consumer Protection Act, Wyo. Stat. §40-12-101, et seq.

         51.     Plaintiff and the Deceptive Practices Subclass have been injured as a direct and

proximate result of Defendant’s violations of the state consumer protection laws recited in this

Count.

         52.     Plaintiff and the Deceptive Practices Subclass have suffered and incurred actual

damages as a direct and proximate result of Defendant’s violations of the state consumer protection

laws recited in this Count.

         53.     To the extent required to state a claim under any statute listed in this Count, Plaintiff

and the Deceptive Practices Subclass reasonably relied on Defendant’s misrepresentations, unfair

and deceptive statements, material omissions.

         54.     Defendant’s unfair and deceptive acts were knowing, willful and/or reckless.

         55.     Plaintiff and the Deceptive Practices Subclass seek damages, statutory damages,

exemplary damages, punitive damages, an injunction, restitution, disgorgement attorney’s fees

and costs, and all other appropriate legal and equitable relief and remedies for Defendant’s

violations of the state consumer protection laws recited in this Count.

                                    THIRD CAUSE OF ACTION
                                     UNJUST ENRICHEMNT

         56.     Plaintiff repeats and realleges each preceding paragraph of the Complaint as if

fully set forth herein.

         57.     Defendant has over-charged and collected tips from Plaintiff and other Class

members who reasonably believed the exact tip amount which they entered on the DoorDash app

would be paid to the Dasher as a wage enhancement for good service, not to DoorDash, either in

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whole or in part, as a subsidy to offset its costs. Had Plaintiff and other Class members known

that the amount received by the Dasher would not be enhanced by the exact amount entered as a

tip on the DoorDash app and that all or part of the tip amount they entered on the DoorDash app

would be paid to DoorDash and not the Dasher, they never would have agreed to pay a tip on the

DoorDash app.

        58.     As a result, Plaintiff and the Class have conferred a benefit on Defendant.

        59.     Defendant had knowledge of this benefit and voluntarily accepted and retained

the benefit conferred.

        60.     Defendant will be unjustly enriched if it is allowed to retain the aforementioned

benefits, and Plaintiff and each Class member is entitled to recover the amount by which

Defendant was unjustly enriched at Plaintiff’s and each Class member’s expense.

                                     FOURTH CAUSE OF ACTION
                                                   FRAUD
        61.     Plaintiff repeats and realleges each preceding paragraph of the Complaint as if

fully set forth herein.

        62.     DoorDash made materially false representations and omissions to Plaintiff and the

other Class members concerning the tip on the DoorDash app. At all relevant times Defendant

knew, or reasonably should have known, and failed to disclose that the exact tip amount entered

by the customer on the DoorDash app was not a customary tip and did not reward the Dasher

with the exact tip amount as additional income for good service, but instead was paid, in whole

or in part, to DoorDash to offset its labor costs and costs of doing business.

        63.     Defendant made these false and misleading representations and omissions

knowingly, recklessly, and/or without regard for their truth or falsity, and with the intent to

induce Plaintiff and other Class members to rely upon them by entering a tip amount on the



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DoorDash app. Indeed, reasonable consumers were led to believe by Defendant’s material

misrepresentations and omissions that the full tip amount entered on the DoorDash app would be

paid as a wage enhancement to the Dasher for good delivery service, when this was not true.

       64.      Plaintiff and other Class members justifiably relied upon the false representations

and omissions made by Defendant by entering a tip amount on the DoorDash app. Had Plaintiff

and the other Class members known that the tip amount they entered on the DoorDash app was

not paid in full to the Dasher as a customary tip for good service, but instead was paid, in whole

or in part, to DoorDash, Plaintiff and the other Class members as reasonable persons would not

have agreed to pay a tip via the DoorDash app.

       65.      As a direct and proximate result of Plaintiff’s and the Class member’s reliance

upon the false representations and omissions of Defendant, Plaintiff and the Class have suffered

damages, including, but not limited to, overpayment for DoorDash services by tipping on the

DoorDash app. Because of the willful and wanton conduct of Defendant, Plaintiff and the Class

are entitled to punitive, as well as actual, damages.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

       A. Certifying the Class and Subclasses pursuant to Federal Rule of Civil Procedure 23,

             certifying Plaintiff as the representative for of the Class and Subclasses, and

             designating his counsel as counsel for the Class and Subclasses;

       B. Actual and compensatory damages for injuries suffered by Plaintiff and the Class and

             Subclasses;

       C. Awarding Plaintiff and the Class and Subclasses statutory and exemplary damages

             where permitted;



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      D. Awarding Plaintiff and the Class and Subclasses punitive damages;

      E. Reasonable attorney’s fees and costs of this action and pre-judgment interest under the

         state consumer fraud statutes; and

      F. Such other relief as this Court may deem just and proper.

                                         JURY DEMAND

      Plaintiff, the Class, and Subclasses demand a trial by jury on all issues so triable

Dated: July 29, 2019
       New York, New York                            GISKAN SOLOTAROFF
                                                       & ANDERSON LLP

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                                                     Counsel for Plaintiff
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